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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Michigan Pain Consultants, P.C.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  250 Monroe Ave NW.
                                  Ste. 400
                                  PMB 17089
                                  Grand Rapids, MI 49503
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kent                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.michiganpain.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Michigan Pain Consultants, P.C.                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Michigan Pain Consultants, P.C.                                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Michigan Pain Consultants, P.C.                                             Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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                                                                                                                                                     6/12/24 4:02PM

Debtor    Michigan Pain Consultants, P.C.                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 12, 2024
                                                  MM / DD / YYYY


                             X /s/ Stacy Ward                                                             Stacy Ward
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Executive Director




18. Signature of attorney    X /s/ Charles D. Bullock                                                      Date June 12, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Charles D. Bullock P55550
                                 Printed name

                                 Stevenson & Bullock, P.L.C.
                                 Firm name

                                 26100 American Drive
                                 Suite 500
                                 Southfield, MI 48034
                                 Number, Street, City, State & ZIP Code

                                                   (248)354-7906 Ext.
                                 Contact phone     2224                          Email address      cbullock@sbplclaw.com

                                 P55550 MI
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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                                        CORPORATE RESOLUTION
                               AUTHORIZING FILING OF BANKRUPTCY PETITION

                    I, Bindu U. Popat-Lewis, do hereby certify that this Resolution by unanimous consent of
            the shareholders of Michigan Pain Consultants, P.C. (“the Company”), a professional corporation
            duly organized and existing under the laws of the State of Michigan, authorizing the Company to
            file a voluntary bankruptcy petition was adopted on May 16, 2024.

                    WHEREAS, in the judgment of the shareholders of the Company, it is in the best interests
            of the Company, its creditors, and other interested parties for the Company to file a voluntary
            petition for relief under chapter 11, subchapter V of Title 11 of the United States Code (the
            “Bankruptcy Code”).

                 BE IT HEREBY RESOLVED that the filing of a voluntary bankruptcy petition on the
            Company’s behalf is authorized;

                    FURTHER RESOLVED that Stacy Ward is authorized to execute all documents necessary
            for the Company to file a voluntary petition under chapter 11, subchapter V of the Bankruptcy
            Code, including the voluntary petition and any schedules, lists, affidavits, certifications, or other
            required papers;

                   FURTHER RESOLVED that Stacy Ward is authorized to employ Stevenson & Bullock,
            P.L.C. to file a voluntary bankruptcy petition on the Company’s behalf and to represent the
            Company during the bankruptcy case;

                    FURTHER RESOLVED that Stacy Ward is authorized to employ Taft Stettinius &
            Hollister LLP and The Health Law Partners to serve as special counsel on the Company’s behalf
            and to represent the Company during the bankruptcy case;

                    FURTHER RESOLVED that Stacy Ward is authorized to retain such other professionals
            as he or she deems necessary and appropriate to represent, assist, or consult with the Company
            during the bankruptcy case;

                   FURTHER RESOLVED that Stacy Ward is authorized to take any other actions necessary
            to accomplish the purpose of these resolutions; and

                    FURTHER RESOLVED that all acts lawfully done by Stacy Ward to effectuate the intent
            of these resolutions are hereby ratified and approved.

                    FURTHER RESOLVED, that any and all past actions heretofore taken by any
            shareholders, directors, and officers of the Company in the name of and on behalf of the Company
            in the furtherance of any or all of the preceding resolutions be, and the same hereby are ratified,
            approved, and adopted.

                                         SIGNATURE FOLLOWS ON NEXT PAGE




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            ____________________
            Bindu U. Popat-Lewis
            Michigan Pain Consultants, P.C.
            Its Board President
            Date: June 11, 2024




            133428280v1
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Fill in this information to identify the case:

Debtor name         Michigan Pain Consultants, P.C.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 12, 2024                   X /s/ Stacy Ward
                                                           Signature of individual signing on behalf of debtor

                                                            Stacy Ward
                                                            Printed name

                                                            Executive Director
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Michigan Pain Consultants, P.C.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                MICHIGAN
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 2147 Health Drive,                                  Real property             Contingent                                                                      $222,108.64
 LLC                  kevin@engen5.co                lease                     Unliquidated
 6300 Venture Hills   m                                                        Disputed
 Blvd. SW             (616) 890-9228
 Byron Center, MI
 49315
 6896 Greenville, LLC                                Real property             Contingent                                                                        $34,042.20
 Cyndy Walsh          cyndywalsh10@gm                lease                     Unliquidated
 2078 Stickley Dr. SE ail.com                                                  Disputed
 Grand Rapids, MI     (616) 581-7876
 49506
 Backup & Company Ryan Ferguson                      Real property             Contingent                                                                        $67,305.41
 Ryan Ferguson                                       lease                     Unliquidated
 14467 W. 57th Place ryanferguson@gm                                           Disputed
 Arvada, CO 80002     ail.com
 Brockton                                            Real property             Contingent                                                                      $297,963.21
 Properties, LLC      thendricks@rhoad               lease                     Unliquidated
 c/o Rhoades McKee esmckee.com                                                 Disputed
 Attn. Todd A.
 Hendricks
 55 Campau Ave.,
 NW, Ste. 300
 Grand Rapids, MI
 49503
 De Lage Landen                                      Equipment loan            Contingent                                                                        $58,390.39
 Financial Services,  customersupport@                                         Unliquidated
 Inc.                 leasedirect.com                                          Disputed
 PO Box 825736        1-800-957-1664
 Philadelphia, PA
 19182-5736
 eClinical Works      Loretta Galligan               Services                                                                                                    $85,868.95
 Loretta Galligan
 P.O. Box 847950      ECLINICALWORKS
 Boston, MA           @billtrust.com
 02284-7950           (508) 475-3066




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Michigan Pain Consultants, P.C.                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Fifth Third               Dennis Loughlin           Loan                      Contingent                                                                      $350,000.00
 Warner, Norcross                                                              Unliquidated
 and Judd LLP              dloughlin@wnj.co                                    Disputed
 2715 Woodward             m
 Ave.                      (313) 546-6000
 Suite 300
 Detroit, MI 48201
 Grand Rapids                                        Taxes                                                                                                       $31,992.28
 Charter Township          receptionist@gran
 1836 East Beltline        drapidstwp.org
 Ave. NE
 Grand Rapids, MI
 49525
 Helix Scribes             Kristi Pazik              Services                                                                                                  $102,100.87
 4100 Embassy Drive
 SE                        kpazik@ecs-wmi.c
 Suite 400                 om
 Grand Rapids, MI          (616) 988-8222
 49546
 Holland Med. Office       Chris Gates               Real property             Contingent                                                                        $98,267.82
 Equities                                            lease                     Unliquidated
 Chris Gates               Chris.Gates@Gate                                    Disputed
 3949 Sparks Drive         sPCG.com
 SE                        (616) 942-1930
 Suite 102
 Grand Rapids, MI
 49546
 McKesson                  Eric Crews                Supplier                  Contingent                                                                      $700,000.00
 PO Box 634404                                                                 Unliquidated
 Cincinnati, OH            Eric.Crews@Mckes                                    Disputed
 45263-4404                son.com
                           800-453-5180
 MPC Real Estate           Dave Argenzio    Real property                                                                                                      $571,210.45
 Holding LLC                                lease
 3235 Eagle Park Dr        dargenzio@smgmi
 NE                        chigan.com
 Grand Rapids, MI          (616) 425-1048
 49525-7071
 Nexcom Properties         David J. Jacobs           Real property             Contingent                                                                        $75,929.20
 1, LLC                                              lease                     Unliquidated
 David J Jacobs            djj99@aol.com                                       Disputed
 2785 Cline Road           231-759-1130
 Muskegon, MI 49444
 Nimble                    Derek Young               Services                  Contingent                                                                      $807,386.73
 7 Arnage Road                                                                 Unliquidated
 Chesterfield, MO          Derek.Young@nim                                     Disputed
 63005                     blercm.com
                           636-273-6711




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    Michigan Pain Consultants, P.C.                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Phoenix Synergy      Chris Pauwels      Services                              Contingent                                                                      $362,546.35
 Chris Pauwels                                                                 Unliquidated
 1819 East Morten     chris@phoenixsyn                                         Disputed
 Avenue               ergy.com
 Suite 140            602-216-0960
 Phoenix, AZ 85020
 ProCare              Joel Schermer      Services                              Contingent                                                                      $460,000.00
 Joel Schermer                                                                 Unliquidated
 1305 Walt Whitman jschermer@napaan                                            Disputed
 Road                 esthesia.com
 Suite 300            (616) 940-2662
 Melville, NY 11747
 Stratus Bldg         Michele Nichols    Services                                                                                                                $40,699.40
 Solutions of West MI
 Michele Nichols      mnichols@stratusc
 120 54th Street SW   lean.com
 Wyoming, MI 49548 616-244-9400
 Stryker Sales, LLC   Kaybel Rojas       Services                              Unliquidated                                                                    $756,343.50
 Kaybel Rojas                                                                  Disputed
 21343 Network        Kaybel.rojas@stryk
 Place                er.com
 Chicago, IL          669-285-5833
 60673-1213
 The Health Law       Vicki Myckowiak    Services                                                                                                                $33,315.00
 Partners
 Vicki Myckowiak      VMyckowiak@thehl
 32000 Northwestern p.com
 Hwy.                 (248) 996-8510
 Ste. 240
 Farmington Hills, MI
 48334
 Varnum                                  Services                                                                                                                $31,595.00
 333 Bridge Street    generalinfo@varnu
 NW                   mlaw.com
 Suite 1700
 Grand Rapids, MI
 49504




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                                                   United States Bankruptcy Court
                                                         Western District of Michigan
 In re    Michigan Pain Consultants, P.C.                                                                 Case No.
                                                                           Debtor(s)                      Chapter       11

                                               LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                 Security Class Number of Securities                          Kind of Interest
business of holder
Adam Powell                                                                  11.1%                                   Shareholder
4184 Settlers Ridge Rd., NE
Belmont, MI 49306-8006

Bennett Willard                                                              11.1%                                   Shareholder
8490 Feather Ridge Lane
Belding, MI 48809

Bindu Popat-Lewis                                                            11.1%                                   Shareholder
361 Manhattan Rd., SE
East Grand Rapids, MI 49506-2018

Eric Kozfkay                                                                 11.1%                                   Shareholder
2610 Albert Dr., SE
Grand Rapids, MI 49506

John Birgiolas                                                               11.1%                                   Shareholder
5077 Lofting Dr., NE
Belmont, MI 49306-9028

Kevin Nemeth                                                                 11.1%                                   Shareholder
8010 Shadybrook Dr., SE
Ada, MI 49301-9303

Lisa Pullum                                                                  11.1%                                   Shareholder
10253 Baldwin Road
Greenville, MI 48838-6107

Mark Juska                                                                   11.1%                                   Shareholder
1025 Anthony Dr.
Norton Shores, MI 49441-7304

Scott Greenwald                                                              11.1%                                   Shareholder
9034 Pine Island Dr., NE
Comstock Park, MI 49321-9530




Sheet 1 of 2 in List of Equity Security Holders
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In re:    Michigan Pain Consultants, P.C.                                                            Case No.
                                                                                 Debtor(s)



                                               LIST OF EQUITY SECURITY HOLDERS
                                                                   (Continuation Sheet)

Name and last known address or place of                     Security Class Number of Securities                             Kind of Interest
business of holder
DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Executive Director of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date June 12, 2024                                                       Signature /s/ Stacy Ward
                                                                                        Stacy Ward

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 2 total page(s)
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                                               United States Bankruptcy Court
                                                     Western District of Michigan
 In re   Michigan Pain Consultants, P.C.                                                         Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Executive Director of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:     June 12, 2024                                  /s/ Stacy Ward
                                                         Stacy Ward/Executive Director
                                                         Signer/Title
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              2147 HEALTH DRIVE, LLC
              6300 VENTURE HILLS BLVD. SW
              BYRON CENTER MI 49315


              6896 GREENVILLE, LLC
              CYNDY WALSH
              2078 STICKLEY DR. SE
              GRAND RAPIDS MI 49506


              ABBOTT LABORATORIES, INC.
              22400 NETWORK PLACE
              CHICAGO IL 60673-1224


              ABSOPURE
              DEPT #996158 PO BOX 701760
              PLYMOUTH MI 48170


              ADT SECURITY SERVCES
              PO BOX 371878
              PITTSBURGH PA 15250-7878


              AIRGAS USA, LLC
              PO BOX 734445
              CHICAGO IL 60673-4445


              ALL BEANS COFFEE CO.
              PO BOX 158
              CADILLAC MI 49601


              AMERICAN MEDICAL SYSTEMS, INC.
              27517 SCHOOLCRAFT
              LIVONIA MI 48150


              ANKURA CONSULTING GROUP LLC
              PO BOX 74007043
              CHICAGO IL 60674-7043


              ARGON MEDICAL DEVICES, INC.
              7800 DALLAS PARKWAY
              SUITE 200
              PLANO TX 75024


              ARROW SWIFT
              6540 S. RD.
              GREENVILLE MI 48838
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          ART'S REFRIGERATION INC.
          3774 28TH ST. SW
          GRANDVILLE MI 49418


          ARTHREX, INC.
          P.O. BOX 403511
          ATLANTA GA 30384-3511


          AUTOMATIC DOOR SERVICE
          4549 40TH STREET SE
          GRAND RAPIDS MI 49512


          BACKUP & COMPANY
          RYAN FERGUSON
          14467 W. 57TH PLACE
          ARVADA CO 80002


          BOSTON SCIENTIFIC
          P.O. BOX 786205
          PHILADELPHIA PA 19178-6205


          BREDEWEG & ZYLSTRA, PC
          4665 BROADMOOR SE SUITE 210
          GRAND RAPIDS MI 49512


          BROCKTON PROPERTIES, LLC
          C/O RHOADES MCKEE
          ATTN. TODD A. HENDRICKS
          55 CAMPAU AVE., NW, STE. 300
          GRAND RAPIDS MI 49503


          BROCKTON PROPERTIES, LLC
          6355 EAST PARIS AVENUE SE
          CALEDONIA MI 49316


          BYRON PLUMBING, INC
          4577 88TH STREET SW
          BRYON CENTER MI 49315


          CARELINC MEDICAL EQUIPMENT & SUPPLY
          89 54TH STREET S.W.
          GRAND RAPIDS MI 48548-5503
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          CITY OF HOLLAND
          CITY TREASURER'S OFFICE 270 S RIVER AVE.
          HOLLAND MI 49423


          CITY OF KENTWOOD TREASURER
          4900 BRETON AVENUE SE PO BOX 8848
          KENTWOOD MI 49518-8848


          CLEANING SOLUTIONS, LLC
          11858 OAKFIELD VALLEY DR NE
          ROCKFORD MI 49341


          CLINICALLY SPEAKING
          1801 W. OLYMPIC BLVD.
          PASADENA CA 91199-2433


          CMS
          WPS GOV'T HEALTH ADMINISTRATOR
          P.O. BOX 8064
          MADISON WI 53708-8064


          COMCAST
          PO BOX 70219
          PHILADELPHIA PA 19176-0219


          CONSENSUS CLOUD SOLUTIONS, LLC
          PO BOX 51873
          LOS ANGELES CA 90051


          CONSUMERS ENERGY
          PO BOX 740309
          CINCINNATI OH 45274-0309


          CONTINENTAL LINEN SERVICE
          4200 MANCHESTER ROAD
          KALAMAZOO MI 49001


          COREWELL HEALTH OCCUPATIONAL HEALTH
          PO BOX 2048
          GRAND RAPIDS MI 49501


          CORPORATION SERVICE COMPANY
          801 ADLAI STEVENSON DRIVE
          SPRINGFIELD IL 62703
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          CULLIGAN OF GREENVILLE
          708 N. LAFAYETTE
          GREENVILLE MI 48838


          CUNNINGHAM COMMUNICATIONS, INC.
          1675-G MICHIGAN ST. NE
          GRAND RAPIDS MI 49503


          CURI
          DEPT 4152 PO BOX 30516
          LANSING MI 48909-8016


          CURONIX, LLC
          1310 PARK CENTRAL BLVD S
          POMPANO BEACH FL 33064


          DE LAGE LANDEN FINANCIAL SERVICES, INC.
          PO BOX 825736
          PHILADELPHIA PA 19182-5736


          DE LAGE LANDEN FINANCIAL SVCS.
          1111 OLD EAGLE SCHOOL RD.
          WAYNE PA 19087


          DELTA DENTAL
          4100 OKEMOS RD.
          OKEMOS MI 48864


          DIALPAD, INC
          RISHAV SHANDILYA
          DEPT. 3808 PO BOX 123808
          DALLAS TX 75312-3808


          DIGITAL OFFICE MACHINES, INC.
          DAN ROBINET
          P.O. BOX 88216
          KENTWOOD MI 49518


          DTE ENERGY
          PO BOX 740786
          CINCINNATI OH 45274-0786
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          EAGLE PARK PARTNERS LLC
          DAVE ARGENZIO
          3235 EAGLE PARK DR NE
          GRAND RAPIDS MI 49525-7071


          ECLINICAL WORKS
          LORETTA GALLIGAN
          P.O. BOX 847950
          BOSTON MA 02284-7950


          EPS SECURITY
          750 FRONT NW
          GRAND RAPIDS MI 40504-4470


          EYE MED
          PO BOX 632530
          CINCINNATI OH 45263-2530


          FAHEY SCHULTZ BURZYCH & RHODES
          JESSICA STEWART
          4151 OKEMOS ROAD
          OKEMOS MI 48864


          FEYEN ZYLSTRA, LLC
          ASHLEY DONLEY
          2396 HILLSIDE DR. SW
          GRAND RAPIDS MI 49544


          FIFTH THIRD
          WARNER, NORCROSS AND JUDD LLP
          2715 WOODWARD AVE.
          SUITE 300
          DETROIT MI 48201


          FIFTH THIRD BANK (WESTERN MI)
          1850 EAST PARIS SE
          ATTN. COM. LOAN COLLATERAL SRV
          GRAND RAPIDS MI 49546


          FIRST CHOICE COFFEE
          1460 COMBERMERE DR.
          TROY MI 48083


          FISH WINDOW CLEANING
          PO BOX 723
          GRANDVILLE MI 49468
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          FLEX FINANCIAL
          DIVISION OF STRYKER SALES CORP
          1111 OLD EAGLE ROAD
          WAYNE PA 19087


          GE HFS, LLC
          9900 INNOVATION DRIVE
          MILWAUKEE WI 53226


          GLEN VALLEY RETAIL CENTER II
          C/O RHOADES MCKEE
          ATTN. TODD A. HENDRICKS
          55 CAMPAU AVE., NW, STE. 300
          GRAND RAPIDS MI 49503


          GLEN VALLEY RETAIL CENTER II
          6355 EAST PARIS AVENUE SE
          CALEDONIA MI 49316


          GRAND RAPIDS CHARTER TOWNSHIP
          1836 EAST BELTLINE AVE. NE
          GRAND RAPIDS MI 49525


          GREAT LAKES WATER QUALITY LAB
          6461 SUNSET DR.
          LAKE ANN MI 49650


          GREENVILLE AREA CHAMBER OF COMMERCE
          210 S. LAFAYETTE ST.
          GREENVILLE MI 48838


          GREENVILLE AREA RECREATION & COMMUNITY C
          900 KENT RD.
          GREENVILLE MI 48838


          HEALTHCARE FINANCIAL SERVICES (GE)
          PO BOX 614149
          PITTSBURGH PA 15264-1419


          HELIX SCRIBES
          4100 EMBASSY DRIVE SE
          SUITE 400
          GRAND RAPIDS MI 49546
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          HERITAGE POINTE VENTURES, LLC
          C/O RHOADES MCKEE
          ATTN. TODD A. HENDRICKS
          55 CAMPAU AVE., NW, STE. 300
          GRAND RAPIDS MI 49503


          HERITAGE POINTE VENTURES, LLC
          6355 EAST PARIS AVENUE SE
          CALEDONIA MI 49316


          HIBU, INC.
          ATTN: CUSTOMER SERVICE
          221 THIRD AVENUE, SE
          SUITE 300
          CEDAR RAPIDS IA 52401


          HOLLAND BOARD OF PUBLIC WORKS
          625 HASTINGS AVE
          HOLLAND MI 49423-5475


          HOLLAND HOSPITAL MEDICAL STAFF
          602 MICHIGAN AVE
          HOLLAND MI 49423


          HOLLAND MED. OFFICE EQUITIES
          CHRIS GATES
          3949 SPARKS DRIVE SE
          SUITE 102
          GRAND RAPIDS MI 49546


          INDEED, INC
          MAIL CODE 5160 PO BOX 660367
          DALLAS, TEXAS 75266-0367


          INTERNAL REVENUE SERVICE
          CENTRALIZED INSLOVENCY OPERATI
          PO BOX 21126
          PHILADELPHIA PA 19114


          KENT COMMUNICATIONS, INC. (KCI)
          SARAH ANDREWS
          3910 EAST PARIS AVE. SE
          GRAND RAPIDS MI 49512
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          LABCORP
          PO BOX 12140
          BURLINGTON NC 27216-2140


          LANDAUER
          EDDYE HURT
          P.O. BOX 809051
          CHICAGO IL 60680-9051


          LIAISON LINGUISTICS
          PO BOX 8264
          GRAND RAPIDS MI 49518


          LINCARE INC
          PO BOX 746051
          ATLANTA GA 30374


          LINDE GAS & EQUIPMENT, INC.
          ANDREW WRIGHT
          DEPT. CH 10660
          PALATINE IL 60055-0660


          MBK CORPORATE PROMOTIONS
          2405 PORTER ST SW OFC J
          WYOMING MI 49519


          MCKESSON
          PO BOX 634404
          CINCINNATI OH 45263-4404


          MCKESSON CORPORATION
          6651 GATEWAY PARKWAY
          JACKSONVILLE FL 32256


          MED-TECH SUPPORT SERVICES, INC.
          149 VALLEY AVE NW
          GRAND RAPIDS MI 49504


          MEDICAL ADVANTAGE
          39555 ORCHARD HILL PLACE
           SUITE 445
          NOVI MI 48375
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          MEDTRAINER
          PO BOX 31001-3416
          PASADENA CA 91110-3416


          MEDTRONIC USA
          4642 COLLECTION CENTER DRIVE
          CHICAGO IL 60693-0046


          MHV CONDO ASSOCIATION
          2380 HEALTH DR SW SUITE 210
          WYOMING MI 49519


          MICHIGAN DEPARTMENT OF TREASUR
          COLLECTIONS/BANKRUPTCY UNIT
          P.O. BOX 30168
          LANSING MI 48909


          MICHIGAN OSTEOPATHIC ASSOCIATION
          2112 UNIVERSITY PARK DR. STE 100
          OKEMOS MI 48864


          MICHIGAN STATE UNIVERSITY
          MICHIGAN STATE UNIVERSITY COM
          BUSINESS
          EAST LANSING MI 48824-1316


          MPC REAL ESTATE HOLDING LLC
          3235 EAGLE PARK DR NE
          GRAND RAPIDS MI 49525-7071


          MUTUAL OF OMAHA
          PAYMENT PROCESSING CENTER
          PO BOX 2147
          OMAHA NE 68103-2147


          NEVRO
          NEVRO CORP. P.O. BOX 845694
          DALLAS TX 75284-5694


          NEXCOM PROPERTIES 1, LLC
          DAVID J JACOBS
          2785 CLINE ROAD
          MUSKEGON MI 49444
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          NEXCOM PROPERTIES I, LLC
          DAVID J. JACOBS
          2785 CLINE ROAD
          MUSKEGON MI 49441


          NEXTGEN HEALTHCARE, INC.
          PO BOX 809390
          CHICAGO IL 60680


          NIMBLE
          7 ARNAGE ROAD
          CHESTERFIELD MO 63005


          ODP BUSINESS SOLUTIONS
          6600 N MILITARY TRAIL
          BOCA RATON FL 33496


          OEC MEDICAL SYSTEMS, INC.
          2984 COLLECTIONS CENTER DRIVE
          CHICAGO IL 60693


          OTIS
          PO BOX 73579
          CHICAGO IL 60673-3579


          PHOENIX SYNERGY
          CHRIS PAUWELS
          1819 EAST MORTEN AVENUE
          SUITE 140
          PHOENIX AZ 85020


          PROCARE
          JOEL SCHERMER
          1305 WALT WHITMAN ROAD
          SUITE 300
          MELVILLE NY 11747


          QUADIENT FINANCE USA, INC.
          LINDA MORSE
          PO BOX 6813
          CAROL STREAM IL 60197-6813


          RAPID FIRE PROTECTION
          8274 ALPINE AVE NW
          SPARTA MI 49345
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          REALTIME SOFTWARE SOLUTIONS, LLC
          PO BOX 92331
          LAS VEGAS NV 89193-2231


          REBECCA KARSTEN
          8597 ELDORA DR. SW
          BYRON CENTER MI 49315


          REPUBLIC SERVICES #239
          PO BOX 9001099
          LOUISVILLE KY 40290-1099


          REPUBLIC SERVICES #240
          PO BOX 9001099
          LOUISVILLE KY 40290-1099


          RISKAWARE
          HEATHER STERN
          8170 CORPORATE PARK DR. SUITE #144
          CINCINNATI OH 45242


          ROSE PEST SOLUTIONS
          PATRICIA RYAN
          PO BOX 71400
          MADISON HEIGHTS MI 48071-0400


          SEAMAN'S
          2510 OAK INDUSTRIAL DRIVE NE
          GRAND RAPIDS MI 49505


          SHRED IT
          28883 NETWORK PLACE
          CHICAGO IL 60673


          SNELLER SNOW & GROUNDS
          675 CLYDE CT SW
          BYRON CENTER MI 49315


          SNOW TURF, LLC
          720 HAZEL STREET
          HOWARD CITY MI 49329


          SPECTRUM BUSINESS
          CHARTER COMMUNICATIONS PO BOX 94188
          PALATINE IL 60094-4188
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          STATE OF MI - DEPT OF TREASURY
          OFFICE OF COLLECTIONS PO BOX 77929
          DETROIT MI 48277-0929


          STATE OF MI DEPT OF LABOR & ECON
          RADIATION SAFETY SECTION
          PO BOX 30658
          LANSING MI 48909-8158


          STATE OF MICHIGAN
          DEPARTMENT OF TREASURY
          P.O. BOX 77437
          DETROIT MI 48277-0437


          STATE OF MICHIGAN
          DEPARTMENT OF ATTORNEY GENERAL
          CADILLAC PLACE
          3030 WEST GRAND BOULEVARD
          DETROIT MI 48202


          STATE OF MICHIGAN
          DEPARTMENT OF TREASURY
          COLLECTIONS DIVISION
          TREASURY BUILDING
          LANSING MI 48922


          STERICYCLE
          P.O. BOX 6575
          CAROL STREAM IL 60197-6575


          STEVENS MOON & ASSOCIATES
          2560 SWAN RD.
          DANSVILLE MI 48819


          STRATUS BLDG SOLUTIONS OF WEST MI
          MICHELE NICHOLS
          120 54TH STREET SW
          WYOMING MI 49548


          STRATUS VIDEO, LLC
          33 N. GARDEN AVE.
          SUITE 1000
          CLEARWATER FL 33755
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          STRYKER SALES, LLC
          KAYBEL ROJAS
          21343 NETWORK PLACE
          CHICAGO IL 60673-1213


          TELERAY
          STEVE AUSTIN
          100 CONGRESS AVE SUITE 200
          AUSTIN TX 78701


          THE HEALTH LAW PARTNERS
          VICKI MYCKOWIAK
          32000 NORTHWESTERN HWY.
          STE. 240
          FARMINGTON HILLS MI 48334


          THE LIGHT BULB COMPANY
          361 44TH ST SW
          GRAND RAPIDS MI 49548


          THE UNIFORM SHOP
          LYDIA SWEETMAN
          LEF, LLC DBA THE UNIFORM SHOP 2960 28TH
          KENTWOOD MI 49512


          THE WL BURMEISTER COMPANY
          CARRIE BUSH-DEGRAAF
          4930 CASCADE RD SE SUITE F
          GRAND RAPIDS MI 49546


          UNIVERSITY OF MICHIGAN HEALTH - WEST
          MEDICAL ADMINISTRATION 5900 BYRON CENTE
          WYOMING MI 59159


          UNIVERSITY SPORTS PUBLICATIONS
          3588 PLYMOUTH RD. DEPT 51
          ANN ARBOR MI 48105


          US SIGNAL COMPANY, LLC
          201 IONIA AVE SW
          GRAND RAPIDS MI 49503


          UTAH MEDICAL PRODUCTS
          CHARLEY FRAILEY
          7043 SOUTH 300 WEST
          MIDVALE UT 84047
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          VALLEY CITY LINEN
          JAKE VERHEY
          10 DIAMOND AVE SE
          GRAND RAPIDS MI 49506


          VARNUM
          333 BRIDGE STREET NW
          SUITE 1700
          GRAND RAPIDS MI 49504


          VENTRA HEALTH
          PO BOX 680
          FREDERICK MD 21705-0680


          WAYSTAR INC.
          1311 SOLUTIONS CENTER
          CHICAGO IL 60677-1311


          WPS GOV'T HEALTH ADMINISTRATOR
          P.O. BOX 1787
          MADISON WI 53701


          ZOLL
          PO BOX 27028
          NEW YORK NY 10087-7028
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                                           United States Bankruptcy Court
                                               Western District of Michigan
 In re   Michigan Pain Consultants, P.C.                                               Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Michigan Pain Consultants, P.C. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




June 12, 2024                                    /s/ Charles D. Bullock
Date                                             Charles D. Bullock P55550
                                                 Signature of Attorney or Litigant
                                                 Counsel for Michigan Pain Consultants, P.C.
                                                 Stevenson & Bullock, P.L.C.
                                                 26100 American Drive
                                                 Suite 500
                                                 Southfield, MI 48034
                                                 (248)354-7906 Ext. 2224 Fax:(248)354-7907
                                                 cbullock@sbplclaw.com
